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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 18-CR-20685-WILLIAMS

  UNITED STATES OF AMERICA,

         Plaintiff,

  vs.

  GUSTAVO HERNANDEZ FRIERI

        Defendant.
  ______________________________________________/

               DEFENDANT GUSTAVO HERNANDEZ’S NOTICE OF FILING
                PRELIMINARY OBJECTIONS TO DRAFT PRE-SENTENCE
                           INVESTIGATION REPORT

         COMES NOW the Defendant, Gustavo Hernandez Frieri, by and through his undersigned

  hereby files Mr. Hernandez’s Preliminary Objections to Draft Pre-Sentence Investigation Report,

  sentencing hearing currently scheduled for March 25, 2021, attached hereto as Exhibit A.


                                              Respectfully submitted,

                                              s/ Michael S. Pasano
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